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William Brady Johnson
470 Country Lane, Unit 10
Santa Clara, Utah 84765
801.635.8515
johnson.williamb@gmail.com

February 19, 2021

Re: Sentencing of Ryan Nichols, Case No. 6:21-MJ-00029-KNM

To Whom It May Concern:

I am a small business owner and a life coach residing in St. George, Utah.

Mr. Nichols informed me that he faces charges related to the January 6 inauguration in Washington
DC. In light of these circumstances, I desire to offer an endorsement of Mr. Nichol’s good character.

Mr. Nichols is a father, a successful businessman, a marine and a volunteer. He is a bright, intelligent,
loving, and unselfish person.

I have had the pleasure of working with Mr. Nichols this last year as his life coach. He is one of my
most dedicated clients that I admire and respect. I have been very impressed with his dedication and
commitment of not only improving himself, but with his desire to help others improve. On his own dime,
he employed my coaching services to help his business staff. I have seen Mr. Nichols’ financial
generosity towards others, helping the less fortunate. When Mr. Nichols sees someone struggling
financially, he has helped empower them by teaching them how to contribute to society through
teaching them how to make money and take care of their own needs. And when someone is struggling
in other ways of life, he is always right there, working with that individual to see the light that’s in the
darkness they are dealing with. He has a big heart, and he really cares about people.

Mr. Nichols volunteers his time and money to help many. He cares deeply about ending suffering and
injustices. He started a not for profit called, “Rescue the Universe” to help people in need. Expecting
nothing in return and on his own dime, I witnessed Mr. Nichols numerous times leaving his work and
family behind to go help strangers through a natural disaster. There were many instances where Mr.
Nichols put his own life at risk to help his fellow Americans.

Mr. Nichols is a patriot who loves his country deeply and desires to protect the integrity of our nation. I
served in the Air Force and he, as a Marine. Mr. Nichols was very concerned about the fraudulent
allegations in regards to the 2020 election. As a patriot, he obeyed President Trump’s (at the time, our
acting President) call to gather. I am a witness that Mr. Nichols did not intend to cause any commotion
or harm at Capitol Hill. We spoke prior to his trip to Washington D.C. and not one time did he mention
any intent to hurt, harm or damage anyone or anything.

Mr. Nichols is a father of two young boys who look up to him and miss him immensely. He is a loving
husband to a wife who is currently juggling their business, children, finances and hate threats. Based
upon Mr. Nichols history of his life, he is of good character. He has a lot to give to his country and
others.
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To Whoever It May Concern,

I’ve known Ryan Nichols for a few years and met him at a business seminar.

He’s hired me to work on marketing projects for him in the past.

Ryan has always shown himself to be a man of integrity, honor… and as a person who cares for
the safety and well-being of others.

He’s shown that through his heroic efforts during various natural disasters. No one asked him
for help. He saw that people needed it and stepped up to help them.

He’s someone that would take the shirt off his back for you if you needed it.

Based on my professional experience working with Ryan Nichols, I believe he’s a man of great
character.

Best Regards,

Carlos Redlich
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This is for Ryan Nichols
Judge Lamberth
I know ryan through his work at Rescue The Universe. Ryan is such a kind gentle guy, big
hearted i would call him a teddy bear, i consider Ryan as my brother. He has helped so
many people, after tornadoes hurricanes flooding i have been with him via the RTU facebook
live watching him do all this. He served your country with pride and Ryan should not be
treated like this, like an animal that your government is treating all J6 prisoners.
Ryan is not seeing his sons grow up, spending time with his family. He is not doing what he
loves the most, search and rescue helping people who are going through the worst time of
their lives.

Judge Lamberth: I would like you to rule “ Time served” as ryan as i think it is wrong to let
him miss out on his sons growing up, not letting him do the things he likes to do.
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                                                     W
                                          Christine Walker




To The Honorable Judge Lamberth:

I am writing to share my support regarding Mr. Ryan Nichols, a Marine Veteran whose story I had the privilege of
featuring in our Veterans magazine in 2022. Through interviews with his wife and thorough research, Mr. Nichols
emerged as a compassionate individual who selflessly aided in rescue efforts following natural disasters. I came to
deeply respect Mr. Nichols' overall character, which I believe still reflects the values of honor, courage, and
commitment instilled by his training and service in the Marine Corps.

However, I feel compelled to express my unease regarding the treatment of individuals like Mr. Nichols following
the events of January 6, 2021. It is troubling to witness individuals facing trial and conviction in the court of public
opinion perpetuated by the media without due process and the presumption of innocence until proven guilty. Mr.
Nichols, had been held in jail without bond, a speedy trial, or adequate care for his physical and mental
health, raising concerns about the protection of his constitutional rights in the 5th, 6th and 8th Amendments.

In today's divisive political climate, I know that to uphold the sacred principles of justice and fairness for all
individuals, it requires Judges like yourself who have dedicated their careers to administer rulings with
compassion and mercy, in accordance with the spirit of the law. And I ask for that same favor to be upheld
concerning the sentencing of Mr. Ryan Nichols.



Sincerely,
Christine Walker
Owner | AT EASE! Veterans Magazine
4/8/2021       Case 1:21-cr-00117-RCL             Document
                                                       Yahoo 303-9        Filed
                                                             Mail - Fwd: Ryan    04/29/24
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     Fwd: Ryan Nichols

     From: Don Nichols (dnichols3270@yahoo.com)

     To:   bonnienichols93@yahoo.com

     Date: Monday, April 5, 2021, 02:59 PM CDT



     From Corey Richey

     Sent from my iPhone

     Begin forwarded message:


           From: Corey Richey <crichey6907@gmail.com>
           Date: April 5, 2021 at 1:56:22 PM CDT
           To: dnichols3270@yahoo.com
           Subject: Ryan Nichols



           To whom it may concern:

           My name is Corey Richey, I knew Ryan back in High School and have followed him on social media for
           many years. I'm not sure exactly how things played out when he was arrested, but I know that his
           character and love for this country is what he intended to express that day. Ryan definitely deserves to be
           shown some grace regarding his current circumstances. I know that God has appointed you to be in
           power and requires you to prayerfully make the right decision in regards to the American people's well
           being, and trust you will do so.

           In High School Ryan was always a stand up guy to hang out with, I did not know him really well but when I
           think back to those days I know for sure he was not known to be a troublemaker or hang out with
           the wrong crowd. Ryan participated in many school programs and was a very social and friendly person.
           Ryan was raised in a small town in East Texas that did not have much going on but there is one positive
           thing about that, you get to play all the sports! I'm pretty sure he played everything at one point in time
           anyway he did well academically and went on to serve our country in the military. Something that many
           young men in our town were too fearful to do. Ryan continues to be an inspiration to all of us and many
           kids in our local community.

           Ryan has demonstrated not only by his words but by his actions that he is trusting, honest and cares
           about his fellows.

           Best Regards,
           Corey Richey
           469-931-4163




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February 4, 2021
To whom it may concern:

My name is Donald L. Nichols, Jr. Ryan Taylor Nichols, Sr., is my son. I do not believe a single event in
someone’s life can determine the type of person an individual is in their character, integrity, and honor.
Such is the case with Ryan. Let me briefly explain.

In the 2nd grade at Waskom Elementary, Ryan was given an award in front of the school for saving
another student’s life in Mrs. Crippen’s class. A student had knocked something large off the filing
cabinet and Ryan sprang from his chair and pushed the girl out of harm’s way from the falling object.

In the 8th grade, after Hurricane Katrina hit the Louisiana coasts and devastated it, our pastor, Bro.
Leland Crawford of FBC Waskom asked for male volunteers to drive down to Baton Rouge, La., to pick up
evacuees from New Orleans and put them on a bus and drive the m to Dallas, Tx. 3 men and one boy
volunteered. I was one of the men and Ryan was the boy. He wanted to help save people from the
devastation. We delivered 30 evacuees and he was an integral party in doing this.

Ryan was always involved in church work and ministry growing up. Whether it was helping the widows
of the church by mowing grass and helping the men’s class put on a roof, etc., he was always there to
lend a hand. He understood that this is what men are supposed to do.

Ryan’s college was fully funded. He attended Howard Payne University and East Texas Baptist
University. He felt led to enlist in the US Marines during his sophomore summer. His reasoning, “There
is a war going on in Iraq and Afghanistan and I feel called to go.” He followed in my steps by going into
the Marines.

After the Marines, he has served as SAR (Search & Rescue) and SAR (Search & Recovery) during at least a
dozen hurricanes. His teams go in before the hurricanes hit so as to be the first on the scene to be able
to rescue/recover bodies. He has served along side the Cajun Navy in most of these catastrophic events.
Harvey, Florence, and Michael just to name of few.

He has also chased tornadoes in more than a dozen states in conjunction with Reed Timmer in an effort
to warn people of impending disaster. He has also stayed behind to help in SAR events from some
tornadoes.

Ryan and I went to Hurricane Michael together. I watched as my son took the lead and called USCG
helicopters down with his phone in order to evacuate people that no ambulance could get to. I was
proud to serve along side on my son in this event. His leadership was well beyond my capabilities.

Many times, Ryan has used his business as a collection point for relief supplies. Both of us have
delivered supplies weeks later to disaster areas.

I could go on. The list of his accomplishments is worthy of many pages. He has been on nearly every
major news network for his efforts. To me, he is a shining example of what every man in this
country ought to be—heroic. No medals are needed, no awards are earned; just the look in
people’s eyes knowing that someone cared enough to rescue them!
Respectfully submitted,
Rev. Donald L. Nichols, Jr.
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To whom it may concern,

I am writing this letter on behalf of my good friend, Christian Brother, and Mentor, Ryan Nichols!

I met Ryan Nichols a couple years ago while I was traveling for a company that taught people how to start
up and build Amazon Stores. One of the benefits that came with the program was the uploading of
Designer Wholesale Products into their Amazon Reseller accounts, and then the products were shipped
to Amazon on their behalf. Ryan was the owner of the wholesale company that was supplying all the
inventory. Ryan was quite knowledgeable about running an Amazon business and helped many students
do very well with their accounts.

I found Ryan to be a very honest businessman that actually cared about the people and families of the
people that worked for him. He truly has a heart for helping others, which is quite evident in the nonprofit
business he owned called Rescue The Universe, which helps rescue people during Floods, Tornadoes ,
Hurricanes, etc. He and his team would put their own lives in danger, to help save the lives of perfect
strangers. He once rescued I believe a dozen dogs from rooftops during a flood, and was honored for it
on the Ellen DeGeneres show.

I had built a great relationship with Ryan, and in Feb of 2020. I was asked to become a part of his sales
team in Texas. I began to get to know Ryan from a close up perspective and I realized that not only was
he a Marine Veteran who loves his country, but also a great husband, father, son, brother, Employer,
businessman and Christian Brother!


He truly cared about his employees and their families, and made sure they were all safe and taken care of
during the pandemic we were stuck in. I experienced first hand his generosity during the pandemic when
I could not find a place to stay due to the pandemic fear, so he set me up with a free place to stay in the
warehouse where my office was, and made sure I was comfortable and had everything I needed.

Because of his heart felt generosity, I not only had a safe haven to sleep in, he also provided me with all
the tools I needed to be successful, such as training programs, industry knowledge and Mentoring, and
because of his desire to help others, I am in the process of launching my own apparel Brand, and it is
because Ryan took the time to show me how much he cared about me and my children!

I feel so Blessed to have friends and Christian brothers and sisters like Ryan and Bonnie Nichols! So if you
are reading this letter, understand that my prayers go out to Ryan and Bonnie and their family, and may
God Bless them now and forever.



Sincerely,


Donald Spradling                               02/17/2021
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                                                             Yahoo Mail - Filed
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     Fwd:

     From: Don Nichols (dnichols3270@yahoo.com)

     To:    bonnienichols93@yahoo.com

     Date: Wednesday, April 7, 2021, 07:58 AM CDT




     Sent from my iPhone

     Begin forwarded message:


            From: Gary Thompson <tgary1035@gmail.com>
            Date: April 7, 2021 at 7:45:37 AM CDT
            To: dnichols3270@yahoo.com


            To whom it may concern,

            I have worked with Ryan Nichols at a previous job. He was a great coworker, and a great leader. Ryan
            was always willing to help and always seemed to know how to solve every problem we encountered. He
            always had high spirits and always seemed to lift the spirits of others. He was a delight to work with and I
            miss those days. Never since have I had a coworker that was truly a team player like Ryan Nichols.

            Sincerely,
            Gary Thompson




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Hello,



My name is Glenda Martin. I have known Ryan Nichols for over 15 years.

I believe our ﬁrst meeting was at church. ( his dad served as the pastor there at the time)
Ryan was such a sweet kid. I remember we took him to dinner one Sunday after church.



The conversation we had about his dad really impressed me. He loves his Dad so much. He
talked about his Dad leaving a good paying job as a store manager because he was led to
preach. Bro Don has raised his sons wonderfully. They are so respectful and caring to
people. Always saying yes ma'am and no ma'am.



I just knew they would grow up to be special young men. Ryan has even served our country
as a United States Marine. He and his Dad would drive HOURS into a hurricanes just to
rescue people. Even dogs!! I think he even interviewed on the Ellen show with a video
someone captured about him rescuing dogs in a hurricane ﬂood.



It's in his DNA to be passionate and brave about protection and rescuing the innocent. He
is a hero. Not a criminal. He is a father. Not a criminal. He is a husband. Not a criminal. He
is a brother. Not a criminal. And he is a son. And NOT a criminal. He has suQered enough.



 And in my opinion it was baseless and senseless. Please let this brave hero go on with his
life. Let him be with his wife and raise his sweet sons. Don't let them have to miss their
daddy again. Just think of how it would be aQecting them. This has got to end. Help Ryan,
the hero of many, go home.



Thankyou!!!



Glenda Martin
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Dear Judge Lamberth,

My name is James Chatham, I’m a business owner living and operating my company in
Houston Texas. I’m writing this in support of my brother in law Ryan Nichols. I’ve know Ryan
Nichols for 11 years, I’ve worked with him, lived with him and grown with him over the
years. When I first met him I helped him learn the plumbing trade to assist him in earning
money to support himself and his new wife at the time.

He’s returned l that kind gesture ten fold over the years. He’s taken me in and helped me get
back on my feet when I was at the lowest point in my life. I had some health issues that led
to a massive set back in my life lasting about 4 years in total.

Ryan came and moved me from Houston Texas to Dallas Texas to live with him and my
sister. I had lost over fifty pounds and had developed severe depression. Ryan gave me a
job (which he was very attentive in adapting the job requirements to best suite my
challenges at the time) , a close friend, a place to live and fed me while I got myself back
together. This man helped save my life. He helped encourage me to open up my own
business and now I have a team of 8 people that I work closely with to serve the greater
Houston area.

Ryan has shown high levels of leadership, kindness and selflessness throughout the years.
He’s helped save people who were struggling through challenging times due to storms,
PTSD challenges, mental and physical health issues. Ryan and I have worked through many
challenges together, we have shared laughs, family and learned a lot from each other.

This man and his family have been a pure blessing to me and my family over the years. Both
of our families have missed him dearly and so have my two nephews. I’m thankful I’ve been
there to help attempt to fill in some of the void these two boys have been experiencing due
to their daddy being gone for three years. I’m the uncle and can not compare to how he
shows up as their father. I see it in their little eyes how much they miss him, and they come
and tell me their feelings about it and express that they miss him dearly.

We all make mistakes in life, sometimes we do and say things that we don’t truly mean in
the moment while under stress. What I can say is, Ryan Nichols does not stand for
violence. The real Ryan Nichols isn’t what was shown on January 6th.

The real Ryan Nichols is what every American, every father and every man would hope to
be.

James Chatham

Brother in Law
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To Judge Lamberth,



My name is James Chatham. I am Ryan Nichols father-in-law, he is my son.

Not my son-in-law and I say this because he has earned it. I am Christian and a disabled
Army veteran. I don’t believe that a person should be given anything. If you don’t earn it, you
don’t get it. I’m a pretty hard man when it comes to work, I was raised that way.



I have known Ryan Nichols for over the last 10 years. A little more than a year before he got
out of the Marine Corps, I know Ryan very well. When his first son was born. I was the one
that placed him in his arms. And was right there with him through both his sons birth.



We have worked hand-in-hand together, on numerous occasions. When Ryan got out of the
Marine Corps, I asked for him and his wife Bonnie, to come and live with me until they
could get on their feet as a civilian. I hired him at the company I was working for ST
Construction in Houston, Texas. I was the master for the company at the time. I had to have
employees that were knowledgeable, respectful with good background checks no felonies
with the state of Texas. Ryan was a perfect candidate. He was eager to work and learned
very fast. Ryan made an asset to the company.



Ryan Nichols has helped so many communities around this nation. Rescuing people,
children, animals, and personal property from hurricane rescues in Louisiana, South
Carolina, Florida, and all over Texas. I guess you would call it a Rescue and Relief and a first
responder, I believe not only this is one of his passions, but what God has called him to do.

To help people. To run to danger and into storms before they can hurt people and their
property.



Ryan Nichols is an asset to this country. I believe it’s a disservice to have him locked up
when he can and has done so much good for other people.
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Ryan Nichols has been on Ellen DeGeneres’ show twice for the rescues that he has done
during hurricanes. He has put his life on the line to help people in emergency response.
And that is where we need this man.



So I am asking you to let him come home to his family and children. If you want to punish
him where he has to do community service, emergency rescues for people that need help,
that’s where you would do best to send him.



Ryan is a Christian with a deep Christian background. He helps people as God would do for
all his children. I think that is his calling. So let’s put him back in this world so he can do
just that.



Ryan Nichols loves his family. I know this personally as I have been there through the ups
and downs, with his wife and children. The boys are growing up without their dad and that is
rough. Their father needs to be there for them.



To help them stand up like a man to teach them right from wrong. To be that shoulder to
lean on. To keep them from running astray, to do the things that a mother can’t do.

Ryan is that person to his children. I didn’t have my father growing up, so I know what it is
like, and I don’t want that for my grandchildren.



As a grandfather, I have been that father to the boys. But they need more than just me, they
need Ryan. To teach them God‘s word, so they can grow up to be men. Responsible men
that can stand up for their families and their country and instill family values, but it takes a
father to be there for them to make this happen. That is the problem that we are having in
this world today with crime. Too many fathers are not there for their children.



Well, I say to you, we need to bring Ryan home as he is one of the best fathers that I have
met. He a father that sits at the kitchen table and does school homework, teaching his
boys how to read, write, do math and keeping their grades up. Teaching them responsibility
and to do their chores, to learn sports, which keeps all kids out of trouble. Talking to the
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children about growing up and putting God in their life first before all things, and instilling
family values.



Yes, Ryan messed up. He accepted that and took responsibility for his actions and turned
himself in. He has since become an even better man. Ryan Nichols DOES NOT stand for
violence. He stands for love, family, and service to his country. He turned his self in and
paid the penalty three years and sat long enough to reflect on his actions and how he can
turn things around and continue to do more good for this world.



This is the reflection that I have for Ryan Nichols. Helping the people of this nation through
hurricanes, disasters, emergency, rescues, saving people and their property. He’s a very
honest, loving, caring, and will give you the shirt off his back, and a benefit to his
countrymen.



Ryan Nichols needs to be home. It’s time to bring him home.



Thank you for your time and service to this nation, Honorable Judge Lambeth.



God Bess,

James Chatham

Father in Law of Ryan Nichols
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To whom it may concern:

I have known Ryan Nichols for several years and have found him to be a man of high integrity and
character. Throughout our friendship I have watched Ryan mentor, coach and serve his clients while
building a successful business. His energetic spirit and positive attitude are infectious.

Ryan is not only a successful businessman but more importantly a great husband, father and friend.

In summary I highly recommend Ryan for any endeavor he chooses to pursue.

If you have any questions, please feel free to contact me.

Sincerely,

Jamie Lasher

C (515)-720-7482
President

AutoRecon Supply - Minor Wreck Express - Surface Repair Service




     P:515-278-0101 5530 NW Beaver Dr. Suite 400 Johnston, Iowa 50131
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Justin Kniffen
10827 CR 148
Flint, Tx 75762



February 20, 2021



To: The Honorable Judge

I am writing to you about Ryan Nichols. In my time knowing Ryan I have always known him to be a man
of unquestionable character, impeccable integrity, and an unwavering friend. Quite honestly, this is a
shock to my system that he finds himself in the situation that he is in right now. So, when I was asked to
write this letter I didn’t hesitate. I’d like to give you a brief background on my friendship with him.

I coached and taught Ryan for four years in high school. He was the consummate leader with our
football team. He was reliable and held others responsible for their role on the team as well. It wasn’t a
difficult decision making him our team captain. It was a unanimous decision by entire staff.

I formed a special bond with Ryan. We are both preacher’s kids, and I was able to talk about some of the
experiences I had growing up a preacher’s kid. We would talk about the pressures and the
responsibilities that he felt he had and our experiences were similar. Ryan never wavered in his faith; a
quality that is hard to find sometimes in dealing with youth like I do.

When Ryan graduated and went to the Marine Corps and came back to live in Conroe, he surprised me
with a visit to a game we were playing down there five years after I last saw him. He began a successful
business that he started from his own apartment which grew into a multimillion dollar business. He is
constantly giving back to the community through his businesses. Rescue the Universe travels around to
hurricane damaged towns throughout the United States and helps with clean up. This is the Ryan I
know; caring and giving, always thinking about others.

I love Ryan and hate that he is in this position. He’s a God-fearing family man, and I know he feels
remorse about his actions. Ryan still has a lot of good to do out in the world, and I absolutely know he
will. I hope this letter goes a long way towards granting Ryan leniency, and I thank your for your time.

Sincerely



Justin W. Kniffen
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To whom it may concern

My name is Kevin Blesing, I have known Ryan Nichols for 3+ years. I started
working for his company in January of 2018. I started in an entry position and
eventually worked my way into a supervisor position and into a sales manager
position. I worked with Ryan closely on a daily basis, This relationship soon
grew from a strictly professional relationship to a personal friendship.

Early on in my relationship with the company and Ryan, I witnessed him take
command of the culture of the company. He would demand integrity with the
employees, and this vision of integrity “Do the right thing even when nobody's
looking” has served him well. I witnessed Ryan going out of his way, going
beyond what is expected on a regular basis. He cared about the employees
and their well being, to the point of financially helping a few employees during
their times of need or hardships. I am sure there was more he has done but
nobody knows about as he would help with nothing expected in return.

He has a passion for helping others, as seen in his desire to run toward danger
to help those in need during tropical storms, hurricanes, and tornados. I do not
believe he does this to get a pat on the back, but as an unselfish desire to help
those in need.

I am aware of Ryan being part of the rally at the Capitol on January 6th. I know
he went to support President Trump as did so many others. I have always
known Ryan to passionately come to the aid of others in times of need and
hardship. I know Ryan to be a very passionate person and facing challenges
boldly and fearlessly. This has served him well in business as he would make a
decision and move forward.

Ryan has been a true blessing in my professional and personal life. I have
always known him to do what he believes is right and stand by it, a person of
high integrity.

Sincerely,

Kevin Blessing

(903)240-2264

kbless60@gmail.com
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April 8, 2021




Dear Judge Ketanji Brown Jackson,

       I am writing this letter on behalf of Ryan Nichols. My name is Kimberly Currie, a family

friend. I first met Ryan in May of 2012, in Okinawa, Japan. Ryan was my son’s roommate in the

barracks on Camp Kinser. My husband and I were there to see our son and Ryan get promoted to

Corporal. Later, when Ryan and my son Brandon got stationed at Camp Pendleton, we began to

know him much better because of our home's proximity. Ryan has been to our house and stayed at

our home multiple times for family gatherings. A testament to the relationship we have with Ryan

is that he showed up at our door in the morning about a year and a half ago because he was in town

for business. He said he could not just pass by without saying hi. Additionally, last year Ryan took

my husband and two sons to lunch when they traveled through Texas, going home to California.

One of the last things he told my husband is, I consider you family.

       To summarize, when meeting Ryan in 2012, we thought he was a well-mannered young

Marine. Through the years, we have grown to care about him like a son. He has always been a

respectful and kindhearted young man to our entire family. Ryan is the kind of person who puts

other people’s needs before himself. For example, he would give you the shirt off his back if you

did not have one.




Sincerely,


Kimberly Currie
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27261 Jardines Mission Viejo, Ca. 92692
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To Judge Lamberth,



I am writing this in support of my son in law, Ryan Nichols. I have known Ryan for
approximately 11 years. In those 11 years, I’ve watched him grow into a loving husband and
father. He’s always proven to be a stand up, show up kind of guy.



He’s always there when someone needs help. He’s compassionate, caring, sensitive and
dedicated in his choices. He believes in what he believes in and that’s what got him where
he is today. I know he regrets that choice he made to attend the January 6 event.



Ryan’s family is his whole world. He’s served due time and should be allowed to live his life
outside of incarceration. He’s not a Threat to Society. He does not “Stand for Violence” If
anything, he’s stands for the love of his children, family, God, and country.



He had formed a strong dedication for showing up during storms/floods/disasters that
others watched from the comfort of their homes. He was out there with others, risking their
lives to help rescue, comfort and evacuate people. He paid out of his own pocket for water,
food, blankets, etc. for these folks in need. He went back and rescued their animals, their
belongings …that could be salvaged. This is A TRUE TESTIMENT of his character. People like
this do not do our country justice by being behind bars. We need more people like Ryan
Nichols in this world helping the world be a better place.



With that said, we ask you to take this into consideration. A man is not judged for 5-10
minutes of his life, please look at his entire life up until January 6 and after January 6 to
make your decision. Ryan has had a long time to think about the event on that day, I know
he has learned his lesson and if given the chance, he would make right of his wrongs and
you will not regret that decision. Thank you for your time and consideration.


Respectfully,

Lisa Chatham
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To Whom It May Concern,



I have known Ryan Nichols and his family for a few years. I have donated to his storm rescue
organization on a few of occasions and have always known him to be an honest caring man with a big
heart. His devotion to helping his fellow man is only eclipsed by his devotion to his family.


Marty Duplissey
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     letter

     From: Nicky curnutte (ncurnutte@yahoo.com)

     To:      bonnienichols93@yahoo.com

     Date: Thursday, April 8, 2021, 08:38 PM CDT




     To Whom it may concern:

     In regards to Ryan Nichols, I have known him 23 plus years. I first knew him when I coached his flag football team in
     elementary school as he was a classmate of my son. After high school, Ryan joined the Marine corps and served
     honorably during wartime and deployments to combat zones. Upon returning to civilian life, I became reacquainted with
     Ryan and have watched him build several successful businesses as well as form a volunteer humanitarian group to help
     people and pets during and after natural disasters such as hurricanes, tornadoes, and floods. He even appeared on the
     Ellen Degeneres show for his efforts with his group Rescue the Universe. He has used his business success to help
     others start, improve or continue their success with tutorials.
     My belief is that our country is blessed to have Ryan and people like him willing to sacrifice time, money, and health to
     help their fellow Americans.

     Respectfully,
     Matthew Heath
     U.S. Army Veteran




                                                                                                                                 1/1
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To whom it may concern,




       On behalf of Ryan Nichols that I would like to put my condolences with his family

during this difficult time. I have known Ryan for 8 years since 2013. We served together in the

Marine Corps, which when I arrived I was a new Marine straight out of training. Straight when I

arrived to our Unit 2nd Battalion 1st Marines located in Camp Horno, in Camp Pendleton, Ryan

treated me with the upmost respect. As I was mistreated by other people, Ryan would often step

in and stop it and make it known that mistreatment wouldn’t be allowed in his presence. Ryan

was the type of guy would look out for everyone and would give you the shirt off of his back.

Ryan was the person that you could go to when you were having problems in your personal life

or adjusting to the military. Even after Ryan got out of the Marines he still exemplified the

Hoorah that is instilled into us in the Marines. Ryan started his own Non profit using his own

money to travel across the country to help those in need. Even having a family and a successful

business Ryan knew that their was a chance that he wouldn’t return home. His selflessness into

running into hurricanes, tornadoes, and storms to rescue people is a true testament to his

character. What happened during the capitol protests is not a true reflection of Ryan or what he

stands for. Ryan doesn’t deserve what is being presented to him in court and deserves to have

justice on his side. Ryan has two young children that will be fatherless and a community and

country will be left in shambles. Ryan is a hero for serving in what many Americans don’t do.

Serving in the Marines and rescuing stranded people during Hurricanes should positively reflect

who Ryan Nichols is. Thank you for taking the time to read this.


Sincerely, Michael Cormier
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                                                              Mail - Character     04/29/24
                                                                               letter             Page 47 of 72


     Character letter

     From: Michael Oonk (michael4520@gmail.com)

     To:    bonnienichols93@yahoo.com

     Cc:    michael4520@gmail.com
     Date: Tuesday, April 6, 2021, 06:38 PM CDT




     To whom it may concern.

         My name is Michael Oonk and I own Barkleys LLC. I’m writing to let you know about the time I spent and interactions
     I have had with Ryan Nichols.
         I met Ryan in 2016. We were both in a group for professionals looking to improve our faith, family, finances, and
     fitness. The 4 Fs as we often referred to it. From the very first time I met him, Ryan seemed to me like a very focused
     and driven individual. He was always excited about a new workout he had learned or some new marketing technique he
     couldn’t wait to try or upcoming time in the woods with his kids.
         When disaster struck Houston in 2017 after a hurricane and flood, Ryan convinced us we had to go help those that
     couldn’t help themselves. He bought supplies, a boat and trailer, rounded us up and off we went to do high water
     rescues. I saw him take his life jacket off and give it to a senior that we had to paddle to safety on the boat.
           Ryan believes in right and wrong. He can’t stand to see people or animals suffer. He has all the hallmarks of a good
     human being. He is not infallible however. He loves the marines, he loves his family, and he loves his country. We could
     all use more people like Ryan.

     God Bless,

     Michael Oonk
     9403004520




                                                                                                                                  1/1
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I have had the privilege of knowing Ryan and seeing him each Sunday for months when he returned from his time away
this past year. Ryan has followed the rules that were given him, been a great example to others in our Sunday school
class. He has been repentant and has honored the Lord in his actions. Ryan has 2 small boys at home and a wife who
works hard. I am asking for grace to please send Ryan home. Our class has prayed for him for months. I know God has
plans for he and his family to continue to honor Him so because of his weekly commitment for months to our church
and our class, his country, we are asking for mercy and encouragement for him to start a new life by being home with
his family.




Jan LaJoie
Minister of Evangelism/Assimilation
Mobberly Baptist Church
625 E. Loop 281, Longview, Texas
C: 903-557-0178
janl@mobberly.org
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To whom this may concern,

My name is Nancy Kasper. I am writing this on behalf of Ryan Nichols. I have
known Ryan all of his life. When I say what I'm about to say about Ryan I do not
say it without commitment. Ryan is one of the most genuine and kind person I
know. There is not anyone that Ryan would not help if it was needed. By now I'm
sure you know all about him and his good deeds he has done not just for his
community but communities in other states especially for hurricane relief. He
doesn't stop with just human involvement but he has also rescued many animals
from their distress in hurricanes. That is the type of person Ryan is. He does not
have to be asked. He initiates the rescues.

Ryan is a Godly man with two young boys who needs his love and presence as
they grow up. He is a family man. He has always worked hard to take care of his
family. Ryan is an awesome human who cares for people.

I ask that you please be lenient with his sentencing. Please let his family be a
family and let his sons have him in their life.

Sincerely,
Nancy Kasper
903-720-7136
138 Private Road 1780
Longview, Texas 75605
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Honorable Judge Lamberth,
  Hello, I am an employee at Ryan and Bonnie Nichols business,
Wholesale Universe. I came on board here in September of 2023,
during my time here I have become close to Ryan’s wife Bonnie and
their 2 boys, RJ and Blake. This family has become somewhat like
my own and I have heard from the boys how much they miss their
father and how they are anticipating his release, so that they can be
a family again. The boys are having a hard time with their dad not
being a part of their lives and being involved in their daily life
activities. Bonnie is a fantastic mom but boys also need a father
figure in their lives. I recently was able to watch a video that was on
the Ellen DeGeneres show a few years ago that showed Ryan at a
location site that had hurricane damage. The video showed Ryan
rescuing 3 dogs that were trapped in a locked dog pen, in high water.
Ryan has a nonprofit organization named Rescue the Universe and
he goes into places by boat or on foot, to rescue animals and people
that are in need in disaster areas and helps get them to safety. Ryan
is a giver and has a heart for others, I ask that he please be released,
so the Nichols can resume their lives and put all this behind them.
Thank you,
Trisha Hall
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     Fwd: Ryan Nichols

     From: Don Nichols (dnichols3270@yahoo.com)

     To:   bonnienichols93@yahoo.com

     Date: Monday, April 5, 2021, 02:59 PM CDT



     From Renee Smith

     Sent from my iPhone

     Begin forwarded message:


           From: "Smith, Kathryn" <krsmith@lisd.org>
           Date: April 5, 2021 at 2:55:08 PM CDT
           To: dnichols3270@yahoo.com
           Subject: Ryan Nichols




           April 5, 2021

           To whom it may concern,

           Hello my name is Renee Nichols Smith, I am the Aunt of Ryan Nichols. I have known Ryan since Dec. 6,
           1990. The day he was born. Ryan loved to play with his brother Travis as a child and his two cousins (my
           daughters). When our parents were alive they had a really great time spending summers in the swimming
           pool. Ryan helped his Grandaddy do things around the house, he went fishing with him. After my parents
           passed it was a few years apart from just seeing Ryan.

           Since Ryan graduated from High school and went to the Marine Corp, he met his wife, had children and is
           a FAMILY man. He loves his family.

           He also went on rescue missions to help Hurricane victims & high water rescues.

           If I can help in any other way you are welcome to call 903-720-7203.

           --

           Renee Smith




                                                                                                                      1/1
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                                                                   Gmail - Ryan     04/29/24
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                                                                                               Bee C <bonnienichols32@gmail.com>



  Ryan Nichols
  1 message

  Rodney LaJoie <rflajoie1@hotmail.com>                                                                   Mon, Apr 22, 2024 at 12:29 PM
  To: "bonnienichols32@gmail.com" <bonnienichols32@gmail.com>

    To whom it may concern, I am a small group teacher at Mobberly Baptist Church. I have had the pleasure of meeting the
    Nichols family as they joined our class and participated in our small group activities and fellowship. I found Ryan a
    sincere and forthright man who fears God and loves his family. I have personally heard Ryan express regret for his
    actions and take responsibility for those actions. I would ask during the sentencing phase of the adjudication of his trial,
    he be shown mercy and leniency from those who are in the position give it. He loves his family and is an integral part of
    it. Law without grace and mercy is unjust. The purpose of the law is to obtain correction without cruelty and destruction,
    and to restore that person to a right relationship with society as a productive citizen. I know Ryan will want to do the right
    thing since he has admitted his fault. I thank the court for this consideration and pray for wisdom in their duty.
    Sincerely,
    Rodney LaJoie




https://mail.google.com/mail/u/0/?ik=fe5a908f6f&view=pt&search=all&permthid=thread-f:1797056878725290821&simpl=msg-f:1797056878725290821   1/1
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                                                                 Fwd: Letter for      04/29/24
                                                                                 recommendation    Page 62 of 72


     Fwd: Letter for recommendation

     From: Don Nichols (dnichols3270@yahoo.com)

     To:   bonnienichols93@yahoo.com

     Date: Tuesday, April 6, 2021, 09:45 AM CDT




     Sent from my iPhone

     Begin forwarded message:


           From: scooter toal <scootertoal@gmail.com>
           Date: April 6, 2021 at 7:40:06 AM CDT
           To: dnichols3270@yahoo.com
           Subject: Letter for recommendation



           I wanna just say that Ryan Nichols has been a life time friend to me his whole family is is considered
           family to me. He's a little younger than me but we went to school together for a bit. His mom Mrs pattie
           thought me in driver's Ed his dad Bro Don was my preacher for a long time and married me and my wife 2
           times. Ryan has never been a troubled kid never caused any trouble to any one or any thing to my notion.
           Always been a good kid and a heck of a husband and father to his family. He is a successful business
           man. And he's a great godly person, he's has donated numerous hours and days of his time on the road
           helping others in hurricane relief all over the southern states. All out of his own pockets. Couldn't ask for a
           better person. I just wanted tell you my views on Ryan
           He's a good person please have mercy on him. God bless 🙌




                                                                                                                             1/1
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Honorable Judge Lamberth,



Your honor I am writing this letter to you and your court with the utmost respect and
appreciation for taking the time to consider my character statements of Mr. Ryan Nichols.



Ryan and I met in the DC Jail in late January of 2021. I was instantly drawn to Ryan and his
positive attitude. As our conversations grew so did my admiration for him. Ryan has served
this great nation as a decorated Marine, volunteered countless hours of search and rescue
during some of the most horrific natural disasters, and is loving Father, Husband and Son.



He always holds his love of family, God, and country with the highest regard.



Your Honor, as someone who has experienced your kindness and compassion when I was
sentenced to 41 months in your courtroom for the same exact charges, I pray that you
would kindly show Ryan the same mercy you showed me.



Thank you Judge,



Scott Fairlamb
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     Fwd: Ryan Nichols

     From: Don Nichols (dnichols3270@yahoo.com)

     To:   bonnienichols93@yahoo.com

     Date: Tuesday, April 6, 2021, 05:31 PM CDT




     Sent from my iPhone

     Begin forwarded message:


           From: Susan Goode <cowpokesg@gmail.com>
           Date: April 6, 2021 at 5:12:45 PM CDT
           To: dnichols3270@yahoo.com
           Subject: Fwd: Ryan Nichols



           Danny wrote this. I told him he could not put his personal opinion in there as he was proud of Ryan’s .
           Hope this will be usable.

           ---------- Forwarded message ---------
           From: Danny Goode <dmaxgoode@gmail.com>
           Date: Tue, Apr 6, 2021 at 4:44 PM
           Subject: Ryan Nichols
           To: <cowpokesg@gmail.com>


           As a former football and baseball coach of this young man, he always distributed a very good work ethic
           and respected my rules as a coach. I was a yes sir and no sir kind of a man. He and his little brother
           Travis played along with my son Matt. We had some successes and heart breaks along the way, but we
           always won with grace and lost with dignity. Unfortunately, seems like he may have gotten caught up in
           the moment of this past year's election.With all the changes in election protocol and some
           misguided leadership, he may have made a bad decision. After I coached him, Ryan went on to start a
           sucessfull small business in East Texas.Having said that, I would consider him a good young man. .

           Danny M Goode




                                                                                                                     1/1
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Your Honor,

I am writing this letter to vouch for the character of Ryan Nichols.
I have known Ryan for 13 years. When I heard about his
misconduct, I was shocked. Ryan is an amazing person that would
give his shirt off his back to help someone in need. A US Marine
who served this country with pride and dignity who does the
same with his community. above states only a few of many
reasons why I am happy to write a character letter for Ryan.
Ryan is a standup character in the community. Serving not only
his own but many other communities across the country, going to
help numerous towns and cities in numerous natural disasters
that happens in our great country with his non-profit
organization rescue the universe. A man who truly enjoys every
aspect of life, a proud father and husband who has taken
advantage of the opportunities he has been given in life. I am very
proud to call Ryan Nichols my friend to me and many many
others.

In closing I can’t say enough good things about my friend, and I
hope the court takes this letter into consideration during the
hearing for that Ryan is a honest man who simply made a mistake.
We are human and we all do it. “If it happens once it’s a mistake,
if it happens twice it then becomes a choice.” A smart man like
Ryan will learn from this and move on. I still believe that he is an
honorable individual, a valuable member of the community, and
a good human being.
Thank you for your consideration.
Tanner Beattie
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                                                                                      April 20, 2024

Dear Judge Lamberth,

I am writing you today to plead for your leniency in the Ryan Nichols case. A friend for many
years, who I know loves this country, his wife and his kids dearly. After serving this great
country, he has been a devoted father, husband and relentless business owner for many years,
and he deserves his freedom.

We have worked with the same life/business coach since 2017 and I know in his heart he strives
to be the best man he can be, and is constantly working on himself to be the best version and
show up for his family. I am honored to call him a friend, and honor the character of this man.

Since knowing Ryan Nichols, I can attest to his character being that of a solid, honest, loving
man. I have interacted with him a ton and seen him be an amazing father and husband, paving
a path of love for his family.

I believe the man deserves to be freed immediately after serving 3 plus years without a hearing.
He has done his time. I know Ryan loves this country dearly and it’s time he gets to live his life
again, for himself, for his kids and for his wife. They deserve their dad back in their lives, and so
does his wife.

Today, I ask for leniency in his sentence because of the solid man he is, and his time serving this
great country.

I appreciate you reading and hearing this message.

Yours Truly,


Troy Marchand
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To the Honorable Judge Lamberth,

I am writing to you concerning the sentencing of Ryan Nichols on May the 2nd. I met Ryan
and his wife Bonnie when they showed up in the Sunday school class I attend. From our
first meeting, I could tell that they were uncomfortable and a little nervous. It was not too
long after that I became aware of the situation, they were both facing. Once Ryan told the
class what he was facing and the circumstances surrounding his case, it became obvious
that he and Bonnie were afraid that we would not want them in our class or to be around
them. The reason I bring this up is because, in a sense, they were already experiencing a
sort of punishment. That punishment is feeling ostracized and separated from people
around you. Of course, as Christian men and women we did not want them to feel
unwelcome. I personally visited Ryan's home numerous times and talked with him one on
one concerning his circumstances.

Ryan is a good man who served his country well. He has two young boys that look up to
their dad. He and Bonnie started a business together that is doing well. I bring this up to
show you that Ryan lived a normal everyday life. He is not some anarchist who wanted the
overthrow of the government. Ryan went to DC with legal and legitimate reasons, but as
can happen in life, he let his emotions get in the way of why he was there.

Since his arrest he has spent almost 2-1/2" years behind bars and 12 months under house
arrest. I believe that this is punishment enough for his crime. Why do I say this? Because
there is an equity that has to be applied when it comes to the punishments meted out by the
courts. I have this opinion because of my own personal experience with the criminal justice
system. I spent over 30 years in prison, and I was guilty of my crime. I look at what I did to
deserve my punishment and then I look at what Ryan did. I deserved the punishment I got,
and I believe that Ryan has already gotten the punishment he deserved.

Looking in the mirror and coming to the realization that I was responsible for why I was in
prison was probably the single most important thing that happened to me while
incarcerated. No one else was to blame. Not society, my circumstances, or the court
system. Ryan looked in that mirror too and has come to that same conclusion for his life. Is
this not one of the outcomes we hope for when people are sentenced? A person does not
have to do 30 years in prison to make amends for their crimes.

Since I served so much time in prison, I believe I know a criminal and bad actor when I see
one. I used to be one. Ryan is not one of those people.

I can imagine that the job you have as a judge is not an easy one. People's futures are in
your hands. I just pray that Ryan's future is in good hands.

Sincerely,

Wayne Taylor
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     Fwd: Ryan Nichols

     From: Don Nichols (dnichols3270@yahoo.com)

     To:   bonnienichols93@yahoo.com

     Date: Sunday, April 4, 2021, 08:47 PM CDT




     Sent from my iPhone

     Begin forwarded message:


           From: Willa Burton <willaburton@hotmail.com>
           Date: April 4, 2021 at 7:43:15 PM CDT
           To: dnichols3270@yahoo.com
           Subject: RE: Ryan Nichols




           To whom it may concern:
            This is written to tell you about Ryan Nichols.     I met Ryan when his Dad was Pastor at Nesbitt Baptist
           Church in Marshall, Texas. I have a granddaughter who is the age of Ryan and they
            were in the youth class together. Ryan was a quiet, respectable young man. He remained the same. Spent time in
           the service. Married and the father of 2 boys. Helped rescue people in floods and hurricanes. Always willing to help
           others. This is a worthy young man

           Will a Burton




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